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                                          January 10, 2020

Via CM/ECF
The Honorable Leonard P. Stark, Chief Judge
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street, Wilmington, DE 19801-3570

          RE:     Plastic Omnium Advanced Innovation and Research v. Donghee America,
                  Inc. and Donghee Alabama, LLC, Civil Action No. 1:16-cv-00187-LPS

Dear Chief Judge Stark:
          Pursuant to the Court’s January 6, 2020 Order, the parties hereby submit this joint status
report.

        The Federal Circuit affirmed this Court’s grant of summary judgment of noninfringement
as it pertains to Plastic Omnium Advanced Innovation and Research’s (“Plastic Omnium”) U.S.
Patent Nos. 6,814,921 and 6,866,812. Plastic Omnium has not taken, and does not intend to
take, any further action with respect to the Federal Circuit’s ruling.

        The Court’s summary judgment order (D.I. 311) also granted summary judgment of non-
infringement as to U.S. Patent Nos. 7,166,253; 9,079,490; and 9,399,327; as well as summary
judgment of no willful infringement of the asserted patents. Plastic Omnium did not appeal the
Court’s summary judgment ruling with respect to the ’490 patent or the no willful infringement
determination, and withdrew its appeal of the Court’s ’253 and ’327 patent rulings following the
United States Patent and Trademark Office’s cancelation of the asserted claims from these
patents. This Court denied summary judgment of noninfringement as to U.S. Patent No.
9,399,326, and this patent was dismissed without prejudice by stipulation on June 1, 2018 (D.I.
328).

        Accordingly, the status of the case is as reflected in the Court’s June 11, 2018 entry of
Final Judgment (D.I. 333) and remains closed. Pursuant to the Final Judgment, any motion or
other requests for attorney’s fees, costs, or expenses shall be filed no later than Monday, January
13, 2020.

                                                          Respectfully,



                                                          Regina S.E. Murphy (No. 5648)
    cc: All counsel of record (via CM/ECF)
